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21 Attorneys for Peekya App Services, Inc.

22
     [Additional counsel appear on signature page]
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                              JOINT CASE MANAGEMENT STATEMENT
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 1                             UNITED STATES DISTRICT COURT

 2
                           NORTHERN DISTRICT OF CALIFORNIA
 3
                                  SAN FRANCISCO DIVISION
 4

 5

 6   IN RE GOOGLE PLAY CONSUMER                   Case No. 3:20-cv-05761-JD
     ANTITRUST LITIGATION
 7

 8   IN RE GOOGLE PLAY DEVELOPER                  Case No. 3:20-cv-05792-JD
     ANTITRUST LITIGATION
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10   EPIC GAMES, INC.,                            Case No. 3:20-cv-05671-JD

11                                     Plaintiff, JOINT CASE MANAGEMENT
                          v.                      STATEMENT
12
     GOOGLE LLC et al.,                         Date: January 14, 2021
13                                              Time: 10:00 a.m.
14                                  Defendants. Courtroom: 11, 19th Floor (via Zoom)
                                                Judge: Hon. James Donato
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                         JOINT CASE MANAGEMENT STATEMENT
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 1                  Pursuant to this Court’s Minute Entry Orders dated December 3, 2020, setting a

 2   further status conference for January 14, 2021 (Epic Games Inc. v. Google LLC et al., Case No.

 3   3:20-cv-05671-JD (“Epic Action”), ECF No. 105; In re Google Play Consumer Antitrust

 4   Litigation, Case No. 3:20-cv-05761-JD (“Consumer Action”), ECF No. 108; In re Google Play

 5   Developer Antitrust Litigation, Case No. 3:20-cv-05792-JD (“Developer Action”), ECF No. 75)

 6   (collectively, the “Minute Orders”), the Parties in the above-captioned related actions (the

 7   “Related Actions”), by and through their undersigned counsel, submit this Joint Case

 8   Management Statement.

 9                  The Parties note that the status conference may be unnecessary in light of the
10   current status of case activity (as described below), but defer to the Court’s preference as to
11   whether to proceed with, or continue, the conference.
12           I.    CASE STATUS SUMMARY
13                  Scheduling Order. On November 6, 2020, the Parties filed with the Court an
14   agreed Stipulation and [Proposed] Scheduling and Page Limits for Forthcoming Motion Practice.
15   (Epic Action, ECF No. 87; Consumer Action, ECF No. 71; Developer Action, ECF No. 68.) The
16   Stipulation and [Proposed] Scheduling and Page Limits for Forthcoming Motion Practice is
17   pending before the Court.
18                  Protective Order. On December 7, 2020, the Parties submitted to the Court an

19   agreed Joint Statement Regarding [Proposed] Stipulated Protective Order. (Epic Action, ECF

20   No. 106, 106-1; Consumer Action, ECF No. 109, 109-1; Developer Action, ECF No. 76, 76-1.)

21   The Court entered the Stipulated Protective Order on December 10, 2020, “except that in those

22   cases where the stipulated protective order conflicts with the Court’s standing orders (e.g., with

23   respect to the filing of discovery motions) . . . the Court’s standing orders will control”. (Epic
24   Action, ECF No. 110; Consumer Action, ECF No. 117; Developer Action, ECF No. 78.)
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                               JOINT CASE MANAGEMENT STATEMENT
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 1                  Appointment of Interim Class Counsel in the Developer Action. On

 2   December 11, 2020, the Court appointed Hagens Berman Sobol Shapiro LLP, Hausfeld LLP and

 3   Sperling & Slater, P.C. as co-lead Interim Class Counsel for the developer class. (Developer

 4   Action, ECF No. 79.)

 5                  Appointment of Interim Class Counsel in the Consumer Action. On

 6   December 16, 2020, the Court appointed Hae Sung Nam and Karma Giulianelli as co-lead

 7   Interim Class Counsel and Elizabeth Pritzker as Liaison Counsel for the consumer class. It also

 8   appointed Nanci Nishimura, Peggy Wedgworth and George Zelcs, as members of the Steering

 9   Committee. (Consumer Action, ECF No. 128.)
10                  Consolidated Class Action Complaints. On December 28, 2020, the plaintiffs
11   in the Consumer Action filed their Consolidated Consumer Class Action Complaint. (Consumer
12   Action, ECF No. 132.) The plaintiffs in the Developer Action previously filed their First
13   Consolidated Class Action Complaint on October 21, 2020. (Developer Action, ECF No. 56.)
14                  Google’s Motions to Dismiss. Google filed its opening brief in support of its
15   motion to dismiss the Epic Action and the Developer Action on November 13, 2020. The
16   plaintiffs filed their opposition on December 21, 2020. Google’s reply is due January 20, 2021.
17                  In the Minute Orders, the Court ordered that “Plaintiffs in the consumer action
18   and Google will file a joint proposal on the scope and timing of a motion to dismiss within 14

19   days of the filing of the amended complaint on December 28, 2020”. (Consumer Action, ECF

20   No. 108.) Consumers and Plaintiffs are in the process of meeting and conferring, and anticipate

21   filing a stipulation on or before January 11, 2021, proposing a plan for the scope and timing of

22   motion practice.

23                  Motion for Transfer and Consolidation (J.P.M.L.). On October 30, 2020,

24   Plaintiff J. Jackson Paige filed Paige v. Google LLC, Case No. 1:20-cv-03158 (D.D.C.) (“Paige

25   Action”), which is a putative consumer class action that mirrors the Consumer Action. On

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 1   November 5, 2020, Plaintiff Paige moved pursuant to 28 U.S.C. § 1407 to consolidate the

 2   Related Actions with In re Google Digital Advertising Antitrust Litigation, Case No. 5:20-cv-

 3   03556 (N.D. Cal.) and the Paige Action, and to transfer the consolidated actions to the United

 4   States District Court for the District of Columbia for pretrial proceedings. The next day, the

 5   Judicial Panel on Multidistrict Litigation ordered the parties to respond to that motion no later

 6   than November 27, 2020. On November 24, 2020, Google moved to transfer the Paige Action to

 7   the United States District Court for the Northern District of California pursuant to 28 U.S.C.

 8   § 1404(a). On November 27, 2020, Google and all but one of the plaintiffs in the Related

 9   Actions filed oppositions to Paige’s motion for transfer and consolidation in the District of
10   Columbia. (In re Google Antitrust Litigation, MDL No. 2981 (J.P.M.L.), ECF Nos. 32, 33, 36,
11   37.) Paige filed a reply on December 7, 2020, and the Judicial Panel on Multidistrict Litigation
12   ordered a hearing for January 28, 2021. (In re Google Antitrust Litigation, MDL No. 2981
13   (J.P.M.L.), ECF No. 47.)
14                  Two additional putative consumer class actions have been filed in the District of
15   Columbia, and another in the Southern District of Mississippi. (McCready v. Google LLC, No.
16   1:20-cv-03556-APM (D.D.C.) (filed Dec. 7, 2020); Blumberg v. Google LLC, No. 1:20-cv-
17   03557-APM (D.D.C.) (filed Dec. 7, 2020); Ratliff v. Google LLC, No. 3:20-cv-00833-DPJ-FKB
18   (S.D. Miss.) (filed Dec. 30, 2020).).

19                  Discovery. On November 9, 2020, Plaintiffs in the Epic Action, Consumer Action

20   and Developer Action jointly served their First Set of Requests for Production to Defendants

21   Google LLC et al. (“Plaintiffs’ RFPs”). Google served its Responses and Objections to

22   Plaintiffs’ RFPs on December 23, 2020. The Parties have met and conferred on several

23   occasions regarding Plaintiffs’ RFPs and will continue to do so.

24                  Google served its First Set of Requests for Production to Epic Games, Inc. on

25   December 8, 2020, and Google served its First Set of Requests for Production to the plaintiffs in

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 1   the Developer Action on December 18, 2020 (collectively, “Google’s RFPs”). The Parties have

 2   met and conferred on several occasions regarding Google’s RFPs and will continue to do so.

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                             JOINT CASE MANAGEMENT STATEMENT
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 1   Dated: January 7, 2021                 CRAVATH, SWAINE & MOORE LLP
                                              Christine Varney
 2                                            Katherine B. Forrest
                                              Gary A. Bornstein
 3
                                              Yonatan Even
 4                                            Lauren A. Moskowitz
                                              M. Brent Byars
 5

 6                                          Respectfully submitted,
 7
                                            By:       /s/ Yonatan Even
 8                                                    Yonatan Even

 9                                                    Counsel for Plaintiff Epic Games, Inc.
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11   Dated: January 7, 2021                 BARTLIT BECK LLP
                                              Karma M. Giulianelli
12
                                            KAPLAN FOX & KILSHEIMER LLP
13                                            Hae Sung Nam
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15                                          Respectfully submitted,

16                                          By:        /s/ Karma M. Giulianelli_____________
                                                       Karma M. Giulianelli
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                                                      Co-Lead Counsel for the Proposed Class in
18                                                    In re Google Play Consumer Antitrust
                                                      Litigation
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 1   Dated: January 7, 2021                 PRITZKER LEVINE LLP
                                               Elizabeth C. Pritzker
 2
                                            Respectfully submitted,
 3

 4                                          By:        /s/ Elizabeth C. Pritzker_____________
                                                       Elizabeth C. Pritzker
 5
                                                      Liaison Counsel for the Proposed Class in
 6                                                    In re Google Play Consumer Antitrust
                                                      Litigation
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     Dated: January 7, 2021                 HAGENS BERMAN SOBOL SHAPIRO LLP
 9                                            Steve W. Berman
                                              Robert F. Lopez
10                                            Benjamin J. Siegel
11
                                            SPERLING & SLATER PC
12                                             Joseph M. Vanek
                                               Eamon P. Kelly
13                                            Alberto Rodriguez
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15                                          Respectfully submitted,

16                                          By:       /s/ Steve W. Berman
                                                      Steve W. Berman
17
                                                      Co-Lead Interim Class Counsel for the
18
                                                      Developer Class and Attorneys for Plaintiff
19                                                    Pure Sweat Basketball

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                           JOINT CASE MANAGEMENT STATEMENT
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 1   Dated: January 7, 2021                 HAUSFELD LLP
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 2                                            Melinda R. Coolidge
                                              Katie R. Beran
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                                              Scott A. Martin
 4                                            Irving Scher

 5
                                            Respectfully submitted,
 6
                                            By:       /s/ Bonny E. Sweeney
 7
                                                      Bonny E. Sweeney
 8
                                                      Co-Lead Interim Class Counsel for the
 9                                                    Developer Class and Attorneys for Plaintiff
                                                      Peekya App Services, Inc.
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     Dated: January 7, 2021                 MORGAN, LEWIS & BOCKIUS LLP
12                                            Brian C. Rocca
                                              Sujal J. Shah
13                                            Minna L. Naranjo
                                              Rishi P. Satia
14                                            Michelle Park Chiu
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16                                          Respectfully submitted,

17                                          By:       /s/ Brian C. Rocca
                                                      Brian C. Rocca
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19                                          Counsel for Defendants Google LLC et al.

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                           JOINT CASE MANAGEMENT STATEMENT
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 1                                     E-FILING ATTESTATION

 2                  I, Yonatan Even, am the ECF User whose ID and password are being used to file
 3   this document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each of the
 4   signatories identified above has concurred in this filing.
 5
                                                                  /s/ Yonatan Even
 6
                                                              Yonatan Even
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